                Case 22-14031-SLM                     Doc 16
                                    Filed 05/25/22 Entered 05/25/22 15:42:25                                    Desc Main
                                   Document      Page 1 of 1
        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY
        Caption in Compliance with D.N.J. LBR 9004-1(b)
        Denise Carlon Esquire
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                                                                                Case No: 22-14031 SLM

                                                                                Chapter: 13

                                                                                Judge: Stacey L. Meisel
        In Re:
        Thomas Joseph Fuller Jr.

                                                     Debtor(s).


                                                                    NOTICE OF APPEARANCE

                         Please take notice that in accordance with Fed R. Bankr. P. 9010(b) the undersigned enters an
                 appearance in this case on behalf of PNC BANK, NATIONAL ASSOCIATION. Request is made that
                 the documents filed in this case and identified below be served on the undersigned at this address:

                 ADDRESS:

                 701 Market Street, Suite 5000
                 Philadelphia, PA 19106

                 DOCUMENTS:

                  All notices entered pursuant to Fed. R. Bankr. P. 2002.
                 All documents and pleadings of any nature.

                 Date: 05/25/2022
                       ${d:1:y:____________}                                    /s/${s:1:y:______________________________}
                                                                                  Denise Carlon
                                                                                  25 May 2022, 15:10:01, EDT
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